OPINION — AG — ** OKLAHOMA TURNPIKE AUTHORITY — ATTORNEY — EMPLOYMENT — ATTORNEY FEES ** PURSUANT TO 69 O.S. 1705 [69-1705](K) 69 O.S. 1728 [69-1728]: (1) THE OKLAHOMA TURNPIKE AUTHORITY MAY ENGAGE AN ATTORNEY ON A REASONABLE AGREED UPON RETAINER BASIS AND ALSO ON A REASONABLE AGREED UPON HOURLY RATE SO LONG AS THE AUTHORITY KEEPS PAYMENTS FOR LEGAL SERVICES TO THE BAREST MINIMUM, UTILIZES THE SERVICES OF THE ATTORNEY GENERAL, WHEN POSSIBLE, AND PAYS ITS ENGAGED ATTORNEY ONLY FOR USUAL, CUSTOMARY, AND ORDINARY LEGAL SERVICES; AND (2) THE AUTHORITY MAY NOT PAY THE ATTORNEY OR LAW FIRM IT ENGAGES ON RETAINER AND/OR ON AN HOURLY FEE BASIS THE PROCEEDS IT SETS ASIDE FOR A BOND COUNSEL, IF THE ATTORNEY OR LAW FIRM ISSUES A MARKET OPINION IN CONNECTION WITH THE AUTHORITY'S ISSUANCE OF A TURNPIKE BONDS BECAUSE SUCH PAYMENT IS PROHIBITED AS A FEE FOR "SPECIAL OR EXTRAORDINARY" SERVICES. (LEGAL COUNSEL, RETAIN, STATE AGENCY) CITE: 69 O.S. 1705 [69-1705](K), 69 O.S. 1728 [69-1728], 69 O.S. 1701 [69-1701] (OZELLA WILLIS)